      Case 3:25-cv-04737-RFL           Document 48      Filed 06/19/25    Page 1 of 5



 1    Erwin Chemerinsky (pro hac vice)
      echemerinsky@law.berkeley.edu
 2    Claudia Polsky (CA Bar No. 185505)
      cpolsky@law.berkeley.edu
 3    U.C. BERKELEY SCHOOL OF LAW
      Law Building
 4    Berkeley, CA 94720-7200
      Telephone: 510.642.6483
 5
      Elizabeth J. Cabraser (CA Bar No. 83151)
 6    ecabraser@lchb.com
      Richard M. Heimann (CA Bar No. 63607)
 7    rheimann@lchb.com
      LIEFF CABRASER HEIMANN &
 8    BERNSTEIN, LLP
      275 Battery Street, 29th Floor
 9    San Francisco, CA 94111
      Telephone: 415.956.1000
10
      Anthony P. Schoenberg (CA Bar No. 203714)
11    tschoenberg@fbm.com
      Linda S. Gilleran (CA Bar No. 307107)
12    lgilleran@fbm.com
      FARELLA BRAUN + MARTEL LLP
13    One Bush Street, Suite 900
      San Francisco, CA 94104
14    Telephone: 415. 954.4400

15    Attorneys for Plaintiffs and the Proposed Class

16
                                    UNITED STATES DISTRICT COURT
17
                                NORTHERN DISTRICT OF CALIFORNIA
18
      NEETA THAKUR, KEN ALEX, NELL                          Case No. 3:25-cv-4737
19    GREEN NYLEN, ROBERT HIRST,
      CHRISTINE PHILLIOU, and JEDDA
20    FOREMAN, on behalf of themselves and all
      others similarly situated,                           DECLARATION OF ELIZABETH J.
21                                                         CABRASER IN SUPPORT OF
                      Plaintiffs,                          SUPPLEMENTAL BRIEF
22
                 v.
23
      DONALD J. TRUMP, in his official capacity as
24    President of the United States;
      DEPARTMENT OF GOVERNMENT
25    EFFICIENCY (“DOGE”);
      AMY GLEASON, in her official capacity as
26    Acting Administrator of the Department of
      Government Efficiency;
27    NATIONAL SCIENCE FOUNDATION;
      BRIAN STONE, in his official capacity as
28    Acting Director of the National Science
                                                                   DECLARATION OF ELIZABETH J. CABRASER
     3248438.3                                                                  ISO SUPPLEMENTAL BRIEF
                                                                                      Case No. 3:25-CV-4737
      Case 3:25-cv-04737-RFL          Document 48          Filed 06/19/25    Page 2 of 5



 1    Foundation;
      NATIONAL ENDOWMENT FOR THE
 2    HUMANITIES;
      MICHAEL MCDONALD, in his official
 3    capacity as Acting Chairman of the National
      Endowment for the Humanities;
 4    UNITED STATES ENVIRONMENTAL
      PROTECTION AGENCY;
 5    LEE ZELDIN, in his official capacity as
      Administrator of the U.S. Environmental
 6    Protection Agency;
      UNITED STATES DEPARTMENT OF
 7    AGRICULTURE;
      BROOKE ROLLINS, in her official capacity as
 8    Secretary of the U.S. Department of Agriculture;
      AMERICORPS (a.k.a. the CORPORATION
 9    FOR NATIONAL AND COMMUNITY
      SERVICE);
10    JENNIFER BASTRESS TAHMASEBI, in her
      official capacity as Interim Agency Head of
11    AmeriCorps;
      UNITED STATES DEPARTMENT OF
12    DEFENSE;
      PETE HEGSETH, in his official capacity as
13    Secretary of the U.S. Department of Defense;
      UNITED STATES DEPARTMENT OF
14    EDUCATION;
      LINDA MCMAHON, in her official capacity as
15    Secretary of the U.S. Department of Education;
      UNITED STATES DEPARTMENT OF
16    ENERGY;
      CHRIS WRIGHT, in his official capacity as
17    Secretary of Energy;
      UNITED STATES DEPARTMENT OF
18    HEALTH AND HUMAN SERVICES;
      ROBERT F. KENNEDY, JR., in his official
19    capacity as Secretary of the U.S. Department of
      Health and Human Services;
20    UNITED STATES CENTERS FOR DISEASE
      CONTROL;
21    MATTHEW BUZZELLI, in his official capacity
      as Acting Director of the Centers for Disease
22    Control;
      UNITED STATES FOOD AND DRUG
23    ADMINISTRATION;
      MARTIN A. MAKARY, in his official capacity
24    as Commissioner of the Food and Drug
      Administration;
25    UNITED STATES NATIONAL INSTITUTES
      OF HEALTH;
26    JAYANTA BHATTACHARYA, in his official
      capacity as Director of the National Institutes of
27    Health;
      INSTITUTE OF MUSEUM AND LIBRARY
28    SERVICES;
                                                                      DECLARATION OF ELIZABETH J. CABRASER
     3248438.3                                      -2-                            ISO SUPPLEMENTAL BRIEF
                                                                                         Case No. 3:25-CV-4737
      Case 3:25-cv-04737-RFL               Document 48           Filed 06/19/25    Page 3 of 5



 1    KEITH SONDERLING, in his official capacity
      as Acting Director of the Institute of Museum
 2    and Library Services;
      UNITED STATES DEPARTMENT OF THE
 3    INTERIOR;
      DOUG BURGUM, in his official capacity as
 4    Secretary of the Interior;
      UNITED STATES DEPARTMENT OF STATE;
 5    MARCO RUBIO, in his official capacity as
      Secretary of the U.S. Department of State;
 6    DEPARTMENT OF TRANSPORTATION;
      SEAN DUFFY, in his official capacity as
 7    Secretary for the U.S. Department of
      Transportation,
 8
      Defendants.
 9

10

11               I, Elizabeth J. Cabraser, declare as follows:

12               1.     I am an attorney admitted to practice in the state of California. I am a partner of

13   Lieff Cabraser Heimann & Bernstein LLP (“LCHB”). I respectfully submit this declaration in

14   support of Plaintiffs’ Supplemental Motion. I have personal knowledge of the facts set forth in

15   this declaration, and could testify competently to them if called upon to do so.

16               2.     On June 17, 2025, Defendants produced information to Plaintiffs in response to the

17   Court’s Discovery Order, ECF 32.

18               3.     In response to Category 1 of the Court’s order (the “Agency Process” category),

19   Defendants produced:

20                      a.      For the Environmental Protection Agency, a two-page declaration.

21                      b.      For the National Science Foundation, a two-page declaration, two emails,

22   and three documents with information publicly available on NSF’s website.

23                      c.      For the National Endowment for the Humanities, a four-page declaration

24   and three emails.

25                      d.      For the Food and Drug Administration, a two-page declaration, which

26   attached the “HHS Grants Policy Statement,” a 105-page document.

27               4.     In response to Category 3 of the Court’s order (the “Exemplar Termination

28   Letters” category), Defendants produced exemplar termination letters for AmeriCorps,
                                                                            DECLARATION OF ELIZABETH J. CABRASER
     3248438.3                                            -3-                            ISO SUPPLEMENTAL BRIEF
                                                                                               Case No. 3:25-CV-4737
      Case 3:25-cv-04737-RFL            Document 48       Filed 06/19/25     Page 4 of 5



 1   Department of Defense, Department of Energy, Institute of Museum and Library Services,

 2   National Institutes of Health, and United States Department of Agriculture.

 3               5.    In total, Defendants produced 53 pages of documents, excluding the HHS Policy

 4   Statement. Defendants produced 158 pages of documents including the Statement.

 5               6.    Attached as Exhibit A is a true and correct copy of Defendants’ “EPA

 6   Production,” under the Agency Process category.

 7               7.    Attached as Exhibit B is a true and correct copy of Defendants’ “NSF

 8   Production,” under the Agency Process category.

 9               8.    Attached as Exhibit C is a true and correct copy of Defendants’ “NEH

10   Production,” under the Agency Process category. Because Defendants did not add Bates-stamps

11   to this production, Plaintiffs added numerical page numbers to the production for ease of

12   reference.

13               9.    Attached as Exhibit D is a true and correct copy of Defendants’ “FDA

14   Production,” under the Agency Process category.

15               10.   Attached as Exhibit E is a true and correct copy of Defendants’ “DOD

16   Production,” under the Exemplar Termination Letters category.

17               11.   Attached as Exhibit F is a true and correct copy of Defendants’ “NIH

18   Production,” under the Exemplar Termination Letters category.

19               12.   Attached as Exhibit G is a true and correct copy of Defendants’ “Ed[ucation]

20   Production,” under the Exemplar Termination Letters category.

21               13.   Attached as Exhibit H is a true and correct copy of Defendants’ “AmeriCorp[s]

22   Production,” under the Exemplar Termination Letters category.

23               14.   Attached as Exhibit I is a true and correct copy of Defendants’ “USDA

24   Production,” under the Exemplar Termination Letters category.

25               15.   Attached as Exhibit J is a true and correct copy of Defendants’ “IMLS

26   Production,” under the Exemplar Termination Letters category.

27               16.   Evidence regarding the termination decision-making of an additional Federal

28   Agency Defendant, the National Institutes of Health (“NIH”), is available in the action brought by
                                                                      DECLARATION OF ELIZABETH J. CABRASER
     3248438.3                                        -4-                          ISO SUPPLEMENTAL BRIEF
                                                                                         Case No. 3:25-CV-4737
      Case 3:25-cv-04737-RFL              Document 48        Filed 06/19/25       Page 5 of 5



 1   a number of Attorneys General in Commonwealth of Massachusetts, et al. v. Robert F. Kennedy,

 2   Jr. et al., No: 1:25-cv-10814, Dkt. 127 (June 9, 2025) (proposed order attaching the certified

 3   administrative record in that case). That evidence confirms that NIH terminated grants using the

 4   same general procedures as the other Federal Agency Defendants and in violation of the

 5   Constitution and Administrative Procedure Act.

 6               I declare under penalty of perjury under the laws of the State of California and the United

 7   States that the foregoing is true and correct.

 8               Executed this 19th day of June, 2025, in San Francisco.

 9

10                                                             ___/s/Elizabeth Cabraser______________
                                                                      Elizabeth Cabraser
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                           DECLARATION OF ELIZABETH J. CABRASER
     3248438.3                                           -5-                            ISO SUPPLEMENTAL BRIEF
                                                                                              Case No. 3:25-CV-4737
